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                          EXHIBIT B
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                              C-2888-14-B
             93RD DISTRICT COURT, HIDALGO COUNTY, TEXAS

                                      CITATION

                                 THE STATE TEXAS

NOTICE TO DEFENDANT: You have been sued. You may employ an attorney. If you
or your attorney do not file a written answer with the clerk who issued this citation by
10:00 a.m. on the Monday next following the expiration of twenty (20) days after you
were served this citation and petition, a default judgment may be taken against you.

ASI Lloyds
RODNEY D. BUCKER
700 NORTH PEARL STREET, 25™ FLOOR
DALLAS, TX 75201

You are hereby commanded to appear by filing a written answer to the PLAINTIFFS'
FIRST AMENDED PETITION AND REQUEST FOR DISCLOSURE at or before 10:00
o'clock a.m on the Monday next after the expiration of twenty (20) days after the date of
service hereof, before the Honorable 93rd District Court of Hidalgo County, Texas at the
Courthouse, 100 North Closner, Edinburg, Texas 78539.

Said Petition was filed on the on this the 10th day of March, 2015 and a copy of same
accompanies this citation. The file number and style of said suit being, C-2888-14-B,
ELOY SAENZ VS. ASI LLOYDS

Said Petition was filed in said court by Attorney PAPE MAKICK DJIBA; 121 N. 10™
ST. MCALLEN, TX 78501

The nature of the demand is fully shown by a true and correct copy of the petition
accompanying this citation and made a part hereof.

The officer executing this writ shall promptly serve the same according to requirements
of law, and the mandates thereof, and make due return as the law directs.

ISSUED AND GIVEN UNDER M Y HAND AND SEAL of said Court at Edinburg,
Texas on this the 11th day of March, 2015.


LAURA HINOJOSA, DISTRICT CLERK
HIDALGO COUNTY, TEXAS
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ALFONSO FUENTES DEPUTY CLERK
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C E R T I F I E D M A I L 70142120000153207065

                                 CERTIFICATE OF RETURN
                                 UNDER RULES 103 T.R.C.P.

This is to certify that on this the 11th day of March, 2015 I , Alfonso Fuentes, Deputy
Clerk of the 93rd District Court of Hidalgo County, Texas mailed to the defendant in
Cause Number C-2888-14-B, Eloy Saenz VS. ASI Lloyds a copy of the citation along
with a copy of the petition by certified mail return receipt requested. Return receipt was
returned on the        day of               , , 201     (or unserved for the reason on the
certificate return)               ,        .       .

GIVEN UNDER M Y HAND AND SEAL OF SAID COURT, at office in Edinburg,
Texas on this the 11th day of March, 2015.


LAURA HINOJOSA, DISTRICT CLERK
HIDALGO COUNTY, TEXAS


ALFONSO FUENTES, DEPUTY CLERK


          COMPLETE IF YOU ARE PERSON OTHER THAN A SHERIFF,
                      CONSTABLE OR CLERK OF THE COURT
In accordance to Rule 107, the officer or authorized person who serves or attempts to
serve a citation must sign the return. If the return is signed by a person other than a
sheriff, constable or the clerk of the court, the return must either be verified or be signed
under the penalty of perjury. A return signed under penalty of perjury must contain the
statement below in substantially the following form:

"My    name is                                                 , my date of birth is
                    and the address is                                         ,and I
declare under penalty of perjury that the foregoing is true and correct.

EXECUTED in                      County, State of Texas, on the      day of                 ,
20   .


Declarant"


I f Certified by the Supreme Court of Texas
Date of Expiration / SCH Number
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                                                                               Hidalgo County District Clerks
                             CAUSE NUMBER C-2888-14-B
                                                                                Reviewed By: Alfonso Fuentes
 ELOY SAENZ, AND                                    §     I N THE DISTRICT COURT OF
 MIGUEL DOMINGUEZ and                               §
 DEANNA SANCHEZ                                     §
      PLAINTIFFSs,                                         §
 vs.                                                §     HIDALGO COUNTY, TEXAS
                                                    §
 ASI LLOYDS                                         §
       Defendant                                    §    9 3 ^ JUDICIAL DISTRICT


         PLAINTIFFS' FIRST AMENDED PETITION AND REQUEST FOR
                             DISCLOSURE


 TO THE HONORABLE JUDGE OF SAID COURT:

        NOW COME, ELOY SAENZ, and MIGUEL DOMINGUEZ and DEANNA

 SANCHEZ (hereinafter referred to as ("PLAINTIFFSS"), and files their First Amended

 Petition against DEFENDANT, ASI LLOYDS for cause of action would respectfully

 show the Court the following:

                                         I.         Discovery

        Pursuant to rule 190 of the Texas Rules of Civil Procedure, PLAINTIFFS intends

 to conduct discovery under Level 3.

                                   II.        Service of Process

        Defendant, ASI LLOYDS., may be served with process by serving citation and a

 copy of this Original Petition by Certified Mail Return Receipt Requested on its agent for

 service Rodney D Bucker, 700 North Pearl Street, 25th Floor, Dallas TX 75201-2825.

         ASI LLOYDS is in the business of insurance in the State of Texas.              The

 insurance business done by ASI LLOYDS in Texas includes, but is not limited to the

 following:




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       1.     The making and issuing of contracts of insurance with the PLAINTIFFS;

       2.     The taking or receiving of application for insurance, including the

              PLAINTIFFS' application for insurance;

       3.     The receiving or collection of premiums, commissions, membership fees,

              assessments, dues or other consideration for any insurance or any part

              thereof, including any such, consideration          or payments from the

              PLAINTIFFS;

       4.     The issuance or delivery of contracts of insurance to residents of this state or

              a person authorized to do business in this state, including the PLAINTIFFS;

       5.     The adjusting and inspection of PLAINTFF'S insurance claims;

      6.      Making insurance coverage decisions;

      7.      Taking part in making insurance coverage decisions; and

      8.      Making representations to PLAINTIFFS as being an agent for an insurance

              company with authority to make coverage decisions;

                                in.     Jurisdiction and Venue

        Venue of this action is proper in HIDALGO County, Texas because: the policy at

 issue was issued and delivered in HIDALGO County, Texas; the properties insured is

 situated in HIDALGO County, Texas; PLAINTIFFS' losses occurred in HIDALGO

 County, Texas, and all or part of the events made the basis of this lawsuit and giving rise

 to PLAINTIFFS' claims and causes of action occurred in HIDALGO County, Texas.

                                      IV.     Facts

        ASI LLOYDS and/or its agents committed the actions alleged against

 PLAINTIFFS in this complaint. PLAINTIFFSS own the properties located at: (Eloy




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  Saenz; 4225 Jennifer Street, Edinburg, Texas 78541; Policy No.: TXL300127) (Miguel

 Dominguez and Deanna Sanchez; 1802 Point West Dr., Edinburg, Texas 78539; Policy

 #TXL257840; Claim #256654). ASI LLOYDS provided coverage to the PLAINTIFFSS

 for such building, personal properties, and other matters under ASI LLOYDS insurance

 Policy No. TXL300127.        During the term of said policy, PLAINTIFFSS sustained

 covered losses in the form of a windstorm and rain on June 15, 2013 in Hidalgo County,

 and water damages resulting there from, including damage to the architecturalfinishesof

 the properties. PLAINTIFFS promptly reported losses to ASI LLOYDS pursuant to the

 terms of the insurance policy. As a result, PLAINTIFFS properties sustained damage,

 including the cost of destruction and restoration of the properties necessary to access and

 fix the damaged areas. These are covered damages under PLAINTIFFS' insurance policy

 with ASI LLOYDS. PLAINTIFFS have been damaged in an amount in excess of the

 minimum jurisdictional limits of this Court, including injuries sustained as a result of

 having conduct business during the pendency of ASI LLOYDS's conduct.

                                V.     Conditions Precedent

        All notices and proofs of loss were timely and properly given to ASI LLOYDS in

 such manner as to fully comply with the terms and conditions of the relevant insurance

 policies or other contracts and applicable law. More than sixty days prior to the filing of

 this suit, written demand for payment and notice of complaint pursuant to Texas

 Insurance Code, section 541 and Business and Commerce Code section 17.505(a), was

 sent to ASI LLOYDS. All of the conditions precedent to bring about this suit under the

 insurance policy have occurred. Despite the fact that all conditions precedent to

 PLAINTIFFS' recovery has occurred and/ or has been performed, ASI LLOYDS has




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 failed and refused to pay PLAINTIFFS a just amount in accordance with their contractual

 obligations, agreements, and representations.

                                  VI. Breach of Contract

                PLAINTIFFS purchased an insurance policy with ASI LLOYDS.

 PLAINTIFFS' properties were damaged by windstorm and water damage, of which are

 covered under the insurance policy. ASI LLOYDS has denied and/or delayed payment of

 PLAINTH'T'S' covered claims. ASI LLOYDS has no reasonable basis for denying,

 delaying, or failing to pay PLAINTIFFS' claims for damages. ASI LLOYDS knew or

 should have known that there was no such reasonable basis to deny, delay, and failure to

 pay such claims. The conduct of ASI LLOYDS was irresponsible, and unconscionable.

 ASI LLOYDS took advantage of the PLAINTIFFS' lack of sophistication in insurance

 and construction matters to a grossly unfair degree. ASI LLOYDS has, by its conduct,

 breached its contract with the PLAINTIFFS. The conduct of ASI LLOYDS has

 proximately caused the injuries and damages to the PLAINTIFFS.

                    VII.    Second Cause of Action: DTPA Violations

        PLAINTIFFS are consumers entitled to relief under the Texas Deceptive Trade

 Practices—Consumer Protection Act ("DTPA"). By its conduct outlined above, ASI

 LLOYDS has engaged in the following violations of the DTPA which, together and

 separately, has been a producing cause of PLAINTIFFS damages:

 (a)    ASI LLOYDS made false representations about PLAINTIFFS rights, remedies

        and obligations under the policies at issue. These statements were a

        misrepresentation of the insurance policies and their benefits in violation of

        §§ 17.46(b)(5), (7), (12) and (14), Texas Business & Commerce Code;




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  (b)   ASI LLOYDS' actions constitute an unconscionable course of conduct entitling

        PLAINTIFFS to relief under § 17.50(a)(1), (2), (3), and (4) of the Texas Business

        & Commerce Code;

 (c)    ASI LLOYDS failed to disclose information to PLAINTIFFS concerning the

        nature and extent of their insurance policy which was known by ASI LLOYDS at

        the time for the purpose of inducing PLAINTIFFS into transactions which they

        would not have otherwise entered in violation of section 17.46(b)(9) and (23),

        Texas Business and Commerce Code;

 (d)    As described above, ASI LLOYDS violated Chapter 541, Texas Insurance Code,

        entitling PLAINTIFFS to relief under section 17.50(a)(4), Texas Business and

        Commerce Code.

        ASI LLOYDS took advantage of PLATNTIFFS' lack of knowledge in

 construction and insurance claims processes, misrepresented losses covered under the

 insurance policy, and failed to disclose pertinent information regarding damages to the

 PLAINTIFFS properties. ASI LLOYDS' conduct as described herein was a producing

 cause of damages to PLAINTIFFS for which PLAINTIFFS sue. The conduct of the ASI

 LLOYDS was more than just a mistake and was done "knowingly" and/or "intentionally"

 as that term is derived by statue. Because of that, ASI LLOYDS may be subject to

 liability for additional damages under the Texas Deceptive Trade Practices Act.

 PLAINTIFFS seek an award of additional damages under the DTPA in an amount not to

 exceed three times the amount of economic damages.

                               VITI.   Unfair Insurance Practices




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        ASI LLOYDS failed to inform PLAINTIFFS of material facts such as the true

 scope of damage and cost to repair. ASI LLOYDS failed to properly process claims and

 have misrepresented material facts to the PLAINTIFFS. ASI LLOYDS have failed to

 address all damage to the properties and its contents causing further damage to the

 PLAINTIFFS. Further, ASI LLOYDS have intentionally failed to fully investigate the

 loss; failed to properly convey all information to PLAINTIFFS; and have intentionally

 ignored'tiamages to ihe dwelling. PLAINTIFFS' properties suffered from covered losses

 and damages of which ASI LLOYDS are fully aware. ASI LLOYDS has concealed

 damage known by them to exist. ASI LLOYDS has known about covered windstorm and

 water damages but has failed to perform proper testing and concealed facts from

 PLAINTIFFS about the damages, ignoring PLAINTIFFS' pleas for help. ASI LLOYDS

 has failed to warn PLAINTIFFS of consequential damage to their properties.

        By its conduct outlined above, ASI LLOYDS committed unfair practices in the

 business of insurance prohibited by Chapter 541, Texas Insurance Code, and the statutes,

 rules and regulations incorporated therein. ASI LLOYDS committed the following acts in

 violation of Texas Insurance Code and Texas Administrative Code:

 (1)    ASI LLOYDS failed to, with good faith, effectuate a prompt, fair, and equitable

        settlement of the PLAINTIFFS' claims once liability became reasonable clear

        (Tex. Ins. Code Ann, 541.060(a)(2)(A); Tex. Ins. Code Ann. 542.003(b)(4); 28

        TAC section 21.203(4));

 (2)    ASI LLOYDS failed to provide promptly to PLAINTIFFS a reasonable

        explanation of the basis in the policy, in relation to the facts or applicable law, for




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      denial of the claim or for the offer of a compromise settlement of the claim (Tex.

      Ins. Code Ann. 541.060(a)(3); 28 TAC section 21.203(9));

      ASI LLOYDS refused to pay a claim without conducting a reasonable

      investigation with respect to that claim (Tex Ins. Code Ann. 541.060(a)(7); TAC

      section 21.203(15));

      ASI LLOYDS breached its duty of good faith and fair dealing at common law;

      ASI LLOYDS failed within a reasonable time to affirm or deny coverage of a

      claim to a policyholder (Tex. Ins. Code Ann. 541.060(a)(4)(A); 28 TAC section

      21.203(10));

      ASI LLOYDS failed to adopt and implement reasonable standards for the prompt

      investigation of claims arising under the insurer's policies (Tex. Ins. Code Ann.

       542. 003(b)(3); 28 TAC section 21.203(3));

      ASI LLOYDS compelled PLAINTIFFS to institute a suit to recover an amount

      due under a policy by offering substantially less than the amount ultimately

      recovered in a suit brought by the policyholder (Tex. Ins. Code Ann.

       542.003(b)(5); 28 TAC section 21.203(6);

       ASI LLOYDS violated the Prompt Payment of Claims Statute (28 TAC section

       21.203(18));

       ASI LLOYDS undertook to enforce a full and final release of a claim from a

       policyholder when only a partial payment has been made, unless the payment is a

       compromise settlement of a doubtful or disputed claim (Tex. Ins. Code Ann.

       541.060(a)(6); 28 TAC section 21.203(13));




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      ASI LLOYDS committed the following unfair methods of competition or

      deceptive acts or practices in the business of insurance in violation of Texas

      Insurance Code and the Texas Administrative Code by:

      (a)    ASI LLOYDS made, issued or circulated or caused to be made, issued or

             circulated an estimate, illustration, circular or statement misrepresenting

             with respect to the policy issued or to be issued:

             (i)    the terms of the policy; and/or

             (ii)   the benefits or advantages promised by the policy.

      (b)    ASI LLOYDS made an untrue statement of material fact (Tex. Ins. Code

             Ann. 541.060(a)(1); 28 TAC section 21.203(1));

      (c)    ASI LLOYDS failed to state a material fact necessary to make other

             statements made not misleading considering the circumstances under

             which statements were made; and

      (d)    ASI LLOYDS made statements in a manner that would mislead a

             reasonably prudent person to a false conclusion of material fact.

      (e)    Refusing, failing, or unreasonably delaying a settlement offer under

             applicable first-party coverage on the basis that other coverage may be

             available or that third parties are responsible for the damages suffered,

             except as may be specifically provided in the policy (Tex Ins. Code Ann

             541.060(a)(5); 28 TAC section 21.203(11); and

       (f)   Failing to respond promptly to a request by a claimant for personal contact

             about or review of the claim (28 TAC section 21.203(16)).




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 ASI LLOYDS conduct as described herein was a producing cause of damages to

 PLAINTIFFS for which it sues.

                 IX      Breach of the Duty of Good Faith and Fair Dealing

        From and after the time the PLAINTIFFS' claims were presented to ASI

 LLOYDS, liability to pay the claims in accordance with the terms of insurance policies

 referenced above has been reasonably clear. Despite there being no basis whatsoever on

 which: a reasonable insurance company would have relied to deny and/or delay payment

 for PLAINTIFFS' claims, ASI LLOYDS refused to accept the claims in totality and pay

 the PLAINTIFFS as the policy required. At that time, ASI LLOYDS knew or should

 have known by the exercise of reasonable diligence that their liability was reasonably

 clear. ASI LLOYDS failed to conduct a reasonable and proper inspection of the claims

 and refused to rely on the true facts, resorting instead to producing faulty, incomplete and

 biased reasons to avoid paying a valid claim. This constitutes failing to handle or process

 the PLAINTFFS' claims in good faith, an affirmative duty placed on the Defendant, as

 expressly stated by the Texas Supreme Court in Vail v. Texas Farm Bureau, 754 S.W.2d

 129 at 135 (Tex. 1988). Through the actions described above, ASI LLOYDS breached its

 duty to deal fairly and in good faith with the PLATNTIFFS. ASI LLOYDS breach was a

 proximate cause of the losses, expenses and damages suffered by the PLAINTIFFS for

 which they sue.

            X.        Texas Insurance Code 542, Subchapter B Delay in Payment

        PLATNTIFFS gave prompt notice of their claims to ASI LLOYDS. ASI LLOYDS

 has engaged in unfair settlement claims practices as discussed above and denied and/or

 has delayed payment on PLAINTIFFS claims. ASI LLOYDS' reliance on reports and




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 estimates from its adjusters and investigating adjusters has been "merely pretextual" and

 unreasonable. ASI LLOYDS' investigation and use of adjusters' reports was an "outcome

 oriented investigation.".    ASI LLOYDS failed to comply with the requirements of

 Chapter 542 listed herein:

        (a)     Failing to notify PLAINTIFFS in writing, within 15 business days after

                receiving all of the items, statements, and forms required by the insurer to

                secure final proof of loss, of the acceptance or rejection of a claim; and/or

        (b)     Failing to pay PLAINTIFFS' claim within 60 days of receiving all of the

                items, statements, and forms required by the insurer to secure final proof

                of loss, of the acceptance or rejection of a claim; and

        (c)     Failing to request all of the items, statements and forms the Defendant

               reasonably believed at the time would be required from PLAINTIFFS to

               pay the claim within 15 days after receiving notice of the claim.

        Pursuant to Texas Insurance Code Chapter 542, Subchapter B, PLAINTIFFS are

 entitled to recover from ASI LLOYDS the statutory penalty of 18% per annum on all

 amounts due on PLAINTIFFS' claims, together with attorney's fees; for which they sue.

                                              XI.

        PLAINTIFFS allege that as to any terms, conditions, notices, or requests under

 the insurance contract, PLAINTIFFS have substantially complied and/or are excused. In

 the alternative, PLAINTIFFS make the allegation of waiver and/or estoppel as to every

 defense or exclusion plead by ASI LLOYDS as to any exclusion, condition, or defense

 pled by ASI LLOYDS, PLAINTIFFS would show that:




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            1. The clear and unambiguous language of the policy provides coverage for

               dwelling damage caused by windstorm and water damage, including the

               cost of access to fix the damaged areas. Any other construction of the

               language of the policy is void as against public policy;

            2. Any other construction and its use by ASI LLOYDS violates section 541

               and 542 of the Texas Insurance Code and are void as against public

               policy;

            3. Any other construction violates Art. 17.50 of the Texas Business and

               Commerce Code, is unconscionable,           was procured by fraudulent

               inducement, and is void as against public policy;

           4. Any other construction is otherwise void as against public policy, illegal,

               and volatiles state law and administrative rule and regulation;

           5. The adoption of any other construction constitutes wrongful or bad faith

               cancellation and/or refusal to renew a portion of PLAINTIFFS'

               predecessor policy with ASI LLOYDS. In this regard, PLAINTIFFS

               would show that their insurance policy was renewed uninterrupted for

               many years; and

            6. The adoption of any other construction constitutes conduct in violation of

               the laws of this state, including section 541 and 542 of Texas Insurance

               Code is void as against public policy.

        If this Court finds any ambiguity in the policy, the rules of construction of such

 policies mandate the construction and interpretation urged by PLAINTIFFS. In the

 alternative, ASI LLOYDS is judicially, administratively, or equitably estopped from




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 denying PLArNTIFFS' construction of the policy coverage at issue. To the extent that the

 wording of such policy does not reflect the true intent of all parties thereto, PLATNTIFFS

 plead the doctrine of mutual mistake requiring reformation.

                                              xn.

                WHEREFORE, PREMISES CONSIDERED, PLATNTIFFS respectfully

 request this Honorable Court for the following relief: That upon final hearing and trial

 hereof, this Honorable Court grant to the PLATNTTFFS such relief as to which he may

 show himself justly entitled, either at law or in equity; either general or special, including

 declaratory judgment, judgment against the defendant for actual attorney's fees, cost of

 suit, mental anguish, DTPA violations, Texas insurance code violations, statutory

 penalties, and prejudgment and post judgment interest, including judgment for additional

 damages and punitive damage under the facts set forth in this or any amended pleading in

 exceeding the minimal jurisdicted limits of the court.

                                      XIII.   JURY DEMAND

 PLAINTIFFS request this Court empanel a jury to sit in the trial of this matter. The

 requisite jury fee will be paid as required by law.

                              XTV. REQUEST FOR DISCLOSURE

    Under Texas Rule of Civil Procedure 194, PLAINTIFFS request that ASI LLOYDS

 disclose, within 50 days of the service of this request, the information or material

 described in Texas Rule of Civil Procedure 194.

                                                                      Respectfully submitted,



                                                       V. GONZALEZ & ASSOCIATES, P.C.
                                                                                            th
                                                                          121 N. 10 St.
                                                                   McAllen, Texas 78501


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                                                Telephone: (956) 630-3266
                                                Facsimile: (956) 630-0383

                                               /s/ PAPE MALICK DJIBA
                                                  PAPE MALICK DJJJBA
                                             mdjiba@vgonzalezlaw, com
                                                  State Bar No. 24087430
                                      ALOYSIUS PETER THADDEUS, JR.
                                                peter@vgonzalezlaw, com
                                                  State Bar No. 19819500
                                                 VICENTE GONZALEZ
                                                  State Bar No. 00798215
                                         ATTORNEYS FOR PLAINTIFFS




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                                    CAUSE NO. C-2888-14-B

ELOY SAENZ AND MIGUEL                             §           IN THE DISTRICT COURT
DOMINGUEZ AND DEANNA SANCHEZ,                     §
     Plaintiffs,                                  §
                                                  §
vs.                                               §           93RD JUDICIAL DISTRICT
                                                  §
ASI LLOYDS,                                       §
      Defendant.                                  §
                                                  §           HIDALGO COUNTY, TEXAS

                       DEFENDANT ASI LLOYDS’ FIRST AMENDED
                         ANSWER AND SPECIAL EXCEPTIONS

TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW Defendant ASI LLOYDS and files this, its First Amended Answer and

Special Exceptions, and would respectfully show unto the Court the following:

                                             I.
                                      ORIGINAL ANSWER

        Pursuant to Rule 92 of the Texas Rules of Civil Procedure, Defendant generally denies each

and every, all and singular, the allegations contained within Plaintiffs’ First Amended Petition, and

demand strict proof thereon by a preponderance of the credible evidence in accordance with the

Constitution and laws of the State of Texas.

                                              II.
                                       SPECIFIC DENIAL

        Plaintiff Eloy Saenz’s claims against ASI Lloyds are barred by res judicata, as Saenz’s

claims against ASI Lloyds were dismissed with prejudice on August 15, 2014. (Exhibit A).

        Plaintiffs’ filing of additional claims in this lawsuit styled Cause No. C-2888-14-B is

improper, as this lawsuit was dismissed on August 15, 2014 with an order that “any relief not

specifically granted herein is hereby denied.” (Exhibit A).




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                                                                                  Reviewed By: Taylor Saenz


                                                III.
                                             APPRAISAL

        Pleading further, nothing contained in this Answer should be construed as a waiver to

Defendant ASI Lloyds’ contractual right to appraisal. When Defendant ASI Lloyds is better able to

determine Plaintiffs’ contentions with respect to contractual damages, Defendant ASI Lloyds may

request that this case be abated and that any differences in damages be determined through the

contractual right to appraisal contained in the policy of insurance at issue.

                                              IV.
                                      SPECIAL EXCEPTION

        Defendant specially except to Plaintiffs’ failure to specify a maximum amount of damages

claimed as required by Tex. Rules of Civ. Procedure 47, 169.

                                            V.
                                   DEMAND FOR JURY TRIAL

        Defendant herein makes demand for a jury trial in this case, and will tender the applicable

fees thereon.

                                                 VI.
                                               PRAYER

        WHEREFORE, PREMISES CONSIDERED, Defendant prays that upon final trial and

hearing hereof, Plaintiffs recover nothing from Defendant, and Defendant go hence without delay

and recover costs of court and other such further relief, both general and special, to which

Defendant may be justly entitled.




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                                             Respectfully submitted,

                                             THOMPSON, COE, COUSINS & IRONS, L.L.P.


                                              /s/ Jay Scott Simon
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                                             ATTORNEYS FOR DEFENDANT


                                CERTIFICATE OF SERVICE

       I certify that on this 6th day of April, 2015, a true and correct copy of the foregoing was
served upon the following counsel of record in accordance with the Texas Rules of Civil
Procedure:

        Pape Malick Djiba
        V. GONZALEZ & ASSOCIATES
        121 N. 10th Street
        McAllen, Texas 78501


                                              /s/ Jay Scott Simon
                                             Jay Scott Simon




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                             EXHIBIT A
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